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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________

In the Matter of the reassignment of                            ORDER
Criminal Case to the Honorable Mae A. D’Agostino           OF REASSIGNMENT

_____________________________________

      ORDERED that the following case has been reassigned to the Honorable Mae A.
D’Agostino, U.S. District Judge.

       Case Number                  Caption

       3:21-cr-314 (TJM)            United States v. William Marshall




       IT IS SO ORDERED.

       Dated: May 18, 2022
       Syracuse, New York
